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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

TROYAL GARTH BROOKS                                                                 PLAINTIFF

VS.                                                CIVIL ACTION NO: 3:24-cv-547-HTW-LGI

DEBRA WINGO WILLIAMS                                                              DEFENDANT


                      PLAINTIFF’S RESPONSE IN OPPOSITION TO
                  DEFENDANT’S MOTION FOR “EMERGENCY” SEALING
                        OR REDACTIONS AND FOR SANCTIONS


           Plaintiff Garth Brooks submits this response in opposition to Defendant Debra Wingo

Williams’ Motion for “Emergency” Sealing or Redactions and for Sanctions [Doc. 18], and

would show that the Motion be denied. In support, Mr. Brooks relies on the attached evidentiary

materials and the arguments and authorities set forth in his accompanying memorandum in

opposition to the Motion.

           ACCORDINGLY, Plaintiff requests that Defendant’s Motion be denied in its entirety.

           Dated: October 16, 2024.

                                               Respectfully submitted,

                                               TROYAL GARTH BROOKS

                                               By: /s/ M. Patrick McDowell
                                                   M. Patrick McDowell,
                                                   One of His Attorneys

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                                     CERTIFICATE OF SERVICE

           I hereby certify that on this date I electronically filed the foregoing with the Clerk of the

Court using the ECF system, which sent notification of such filing to all counsel of record.

           Dated: October 16, 2024.

                                                          /s/ M. Patrick McDowell
                                                          M. Patrick McDowell




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